                Case 1:23-cv-01263-CKK                   Document 42        Filed 06/12/23          Page 1 of 1

                                                                                                                  CO-386
                                                                                                                  10/


                                   United States District Court
                                   For the District of Columbia
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )        Civil Action No._______________________
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )


                                                 CERTIFICATE RULE LCvR          .1

I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:




These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                               /s/ Francie N. Berger
                                                               _______________________________________
                                                               Signature

________________________________________                       _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               _______________________________________
                                                               Address

                                                               _______________________________________
                                                               City          State        Zip Code

                                                               _______________________________________
                                                               Phone Number
